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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF IOWA
                            EASTERN DIVISION

Jennifer Cano, Individually and as the       CASE NO. ____________
Administrator of the Estate of Pedro
Cano Rodriguez; Kimberly Cano,
Individually; and Peter Junior Cano,
Individually,                                JOINT NOTICE OF REMOVAL

                               Plaintiffs,

vs.

Tyson Foods, Inc.; Tyson Fresh Meats,
Inc.; John H. Tyson; Samuel Dean
Banks; Noel White; Tom Brower;
Elizabeth Croston; Stephen R.
Stouffer; Brent R. McElroy; Ed
McAtee; Scott Little; Doug White;
Laurie Garcia; and Amanda Brown,

                            Defendants.




                         JOINT NOTICE OF REMOVAL

      All Defendants jointly remove this civil action under 28 U.S.C. §§ 1331, 1441,

1442, and 1446. This Court has subject matter jurisdiction, and the case is removable

because:

      (1)    Plaintiffs’ Petition at Law (“Petition”) challenges actions taken by

             Defendants at the direction of a federal officer, for which Defendants

             will have a colorable federal defense (28 U.S.C. § 1442(a)(1)); and

      (2)    The Petition raises substantial and disputed issues of federal law under

             the Defense Production Act that must be decided by a federal forum (28

             U.S.C. § 1331).
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      Removal is timely. Defendants Tyson Foods, Inc., Tyson Fresh Meats, Inc.,

Brent R. McElroy, Ed McAtee, Scott Little, Doug White, Laurie Garcia, and Amanda

Brown were served with the Petition on or after October 20, 2020, and the remaining

Defendants waived service of the Petition on November 2, 2020. [See Defendants’

Acceptance of Service (Nov. 2, 2020), attached as Exhibit A] This Notice is being filed

within 30 days of service. See 28 U.S.C. § 1446(b)(1); Murphy Bros., Inc. v. Michetti

Pipe Stringing, Inc., 526 U.S. 344 (1999).

      Defendants provide the following short and plain statement of the grounds for

removal:

                                  BACKGROUND

      The United States continues to struggle with a global pandemic whose size and

scope are without modern precedent. Millions have been infected with the novel

coronavirus, and more than 240,000 Americans have died of COVID-19. The economic

and human fallout from the pandemic has been severe. This case is brought by three

relatives of Pedro Cano Rodriguez, who allege that he worked at a Tyson pork-

processing facility; that he contracted COVID-19 at work; and that he later died of

the disease. His death is a tragedy.

      But Plaintiffs’ allegations—including allegations of willful misconduct directed

not only against Tyson Foods, Inc. and Tyson Fresh Meats, Inc. (collectively “Tyson”),

but also against a dozen Tyson employees—are inaccurate and incorrect, and

Defendants vigorously dispute Plaintiffs’ claims. Tyson has worked from the very

beginning of the pandemic to follow federal workplace guidelines and has invested

millions of dollars to provide employees with safety and risk-mitigation equipment.

Tyson’s efforts to protect its workers while continuing to supply Americans with food

in the face of the pandemic continue to this day.

      Removal is proper because this case seeks to countermand federal statutes and

federal directions Tyson received as part of a national emergency response to an

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unprecedented pandemic. The Petition alleges in effect that Tyson should have shut

down its facility in Columbus Junction, Iowa sooner during the COVID-19 pandemic

or operated it differently. But that facility was operating as part of the federally

designated “critical infrastructure” at the direction of, and under the supervision of,

the U.S. Department of Homeland Security and the U.S. Department of Agriculture.

Tyson worked hand-in-hand with federal officials from the time of the declaration of

a national emergency on March 13 to safely continue operations to secure the national

food supply. The President and the Secretary of Agriculture provided detailed

instruction for meat-processing facilities to continue operating, incorporating

industry-specific guidance from the Centers for Disease Control and Prevention

(“CDC”) and the Occupational Safety and Health Administration (“OSHA”). And after

attempts by states to interfere with this national prerogative, the President again

confirmed, “[i]t is important that processors of beef, pork, and poultry . . . in the food

supply chain continue operating and fulfilling orders to ensure a continued supply of

protein for Americans” and “continue operations consistent with the guidance for

their operations jointly issued by the CDC and OSHA,” and that any “closures [of

such facilities] threaten the continued functioning of the national meat and poultry

supply chain” and “undermin[e] critical infrastructure during the national

emergency.” Executive Order on Delegating Authority Under the DPA with Respect to

Food Supply Chain Resources During the National Emergency Caused by the

Outbreak of COVID-19 (“Food Supply Chain Resources”), 85 Fed. Reg. 26,313, 26,313,

2020 WL 2060381, at *1 (Apr. 28, 2020). 1

      Because Defendants continued to operate the Columbus Junction facility

following federal critical infrastructure directions and supervision from federal


1https://www.whitehouse.gov/presidential-actions/executive-order-delegating-
authority-dpa-respect-food-supply-chain-resources-national-emergency-caused-
outbreak-covid-19/

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officers, including directives from the President and the Secretary of Agriculture and

guidance from the CDC and OSHA, a federal court must resolve this case.

                                          ARGUMENT

I.       Federal officer removal is proper under 28 U.S.C. § 1442(a)(1).

         Under 28 U.S.C. § 1442(a)(1), a civil action may be removed to federal court if

the action is asserted against a person acting under the direction of a federal officer:

               A civil action . . . that is against or directed to any of the following
               may be removed . . . :

               (1) The United States or any agency thereof or any officer (or any
               person acting under that officer) of the United States or of any
               agency thereof, in an official or individual capacity, for or relating
               to any act under color of such office . . . .

28 U.S.C. § 1442(a)(1) (emphasis added).
         Here, federal officer removal is proper because (1) Defendants “acted under the

direction of a federal officer,” (2) “there was a causal connection between

[Defendants’] actions and the official authority,” (3) Defendants have “a colorable

federal defense to the plaintiff’s claims,” and (4) each Defendant “is a ‘person,’ within

the meaning of the statute.” Jacks v. Meridian Res. Co., 701 F.3d 1224, 1230 (8th Cir.

2012) (citing Dahl v. R.J. Reynolds Tobacco Co., 478 F.3d 965, 967 n.2 (8th Cir. 2007)).
         Federal Direction. On March 13, 2020, the President “issued a proclamation

that the COVID-19 outbreak in the United States constituted a national emergency

beginning March 1, 2020.” [Petition ¶ 43] Soon after, on March 16, the President

issued     “Coronavirus     Guidelines”      emphasizing        that    employees         in   “critical

infrastructure industr[ies]”—including companies like Tyson that are essential to

maintaining food-supply chains and ensuring the continued health and safety of all

Americans—have a “special responsibility” and “should follow CDC guidance to




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protect [employees’] health at work.” Exec. Office of Pres., The President’s

Coronavirus Guidelines for America at 2 (Mar. 16, 2020). 2

         This “critical infrastructure” designation derives from the USA Patriot Act

passed after 9/11, see 42 U.S.C. § 5195c(e), and the administration of critical

infrastructure protection by the U.S. Department of Homeland Security, which was

created in 2002. “Food and Agriculture” is one of the sixteen recognized “sectors” of

critical infrastructure and is subject to a 2013 Presidential Policy Directive intended

to “advance[] a national unity of effort to strengthen and maintain secure,

functioning, and resilient critical infrastructure.” 3 Coordinating protection of the
Food and Agriculture Sector has been assigned to the U.S. Departments of

Agriculture and Health and Human Services, which have an extensive plan4 “to

protect against a disruption anywhere in the food system that would pose a serious

threat to public health, safety, welfare, or to the national economy.” 5

         Accordingly, from the time of President Trump’s disaster declaration on

March 13, Tyson was in close contact with federal officials regarding continued

operations as critical infrastructure. For example, on March 15, in response to

significant hoarding of food and other items, the President met with food industry

executives—including Tyson—to discuss the stability of the supply chain. The

President provided the following statement regarding “hand-in-hand” cooperation

with the federal government to keep supply chains operating:



2https://www.whitehouse.gov/wp-content/uploads/2020/03/03.16.20_coronavirus-
guidance_8.5x11_315PM.pdf
3https://obamawhitehouse.archives.gov/the-press-office/2013/02/12/presidential-
policy-directive-critical-infrastructure-security-and-resil
4   https://www.cisa.gov/critical-infrastructure-sectors
5https://www.cisa.gov/sites/default/files/publications/nipp-ssp-food-ag-2015-508.pdf
at 13.

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              “All of them are working hand-in-hand with the federal
              government as well as the state and local leaders to ensure
              food and essentials are constantly available,” President
              Trump said. “We had a long conversation with them and
              they’re going to work 24 hours around the clock, keeping
              their store stocked.” 6

        Over the next weeks, Tyson was in frequent contact with federal officers

regarding the best way to safely continue operations, in particular with the

Department of Agriculture’s Food Safety Inspection Service (“FSIS”). In fact, FSIS

employees were on-site at Tyson’s facilities, and Tyson’s employees had personal

letters authorizing their service to “critical infrastructure,” so that those employees
could explain their exemption from local lockdowns should any authorities question

them.

        Federal officials also continued to emphasize the need for companies in the

Food and Agriculture Sector to keep operating pursuant to unified, federal guidance.

For example, in an April 7 statement, Vice President Pence stressed that “we need

[food industry workers] to continue, as a part of what we call our critical

infrastructure, to show up and do your job and know that we’re going to continue to

work tirelessly in working with all of your companies to make sure that that

workplace is safe.” 7 Congress even appropriated supplemental funding to FSIS to

accommodate the continued presence of FSIS at facilities, including Tyson’s facilities,

during the pandemic.

        But notwithstanding the close collaboration between Tyson and federal

officials to safely continue operations, state and local officials began asserting

contradictory authority with respect to meat and poultry processing facilities. Those


6https://www.foodbusinessnews.net/articles/15621-trump-meets-with-food-
company-leaders
7https://www.whitehouse.gov/briefings-statements/remarks-president-trump-vice-
president-pence-members-coronavirus-task-force-press-briefing-april-7-2020/

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state actions led to an Executive Order re-emphasizing federal supremacy with

respect to meat and poultry facilities. On April 28, President Trump expressly

invoked his authority under the Defense Production Act (“DPA”) and again directed

that it was federal policy that meat and poultry processing companies continue

operating subject to the supervision of the Secretary of Agriculture. See Food Supply

Chain Resources, 85 Fed. Reg. at 26,313, 2020 WL 2060381, at *1. The executive order

states in relevant part:

             It is important that processors of beef, pork, and poultry (“meat
             and poultry”) in the food supply chain continue operating and
             fulfilling orders to ensure a continued supply of protein for
             Americans. . . . [R]ecent actions in some States have led to the
             complete closure of some large processing facilities.

             *      *      *

             Such closures threaten the continued functioning of the
             national meat and poultry supply chain, undermining critical
             infrastructure during the national emergency.

             *      *      *

             [T]he Secretary of Agriculture shall take all appropriate action
             . . . to ensure that meat and poultry processors continue
             operations consistent with the guidance for their operations
             jointly issued by the CDC and OSHA.

Id. (emphases added).

      Consistent with the Food Supply Chain Resources executive order and the

prior directives, Secretary of Agriculture Sonny Perdue then promptly issued two

letters: one to meat and poultry processing companies directing them to continue

operating pursuant to the federal directives, and one to state and local officials across

the nation reiterating their obligation to work with the Secretary to ensure meat

processing companies’ compliance with federal directives. See U.S. Dep’t of

Agriculture, Press Release No. 0243.20 (May 6, 2020) (announcing that the Secretary


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had issued a “Letter to Governors” and “Letter to Stakeholders”) 8. Secretary Perdue’s

Letter to Stakeholders again emphasized that the “Nation’s meat and poultry

processing facilities and workers play an integral role in the continuity of our food

supply chain.” U.S. Dep’t of Agriculture, Letter to Stakeholders (May 5, 2020). 9

         The U.S. Department of Agriculture also entered into a Memorandum of

Understanding with the U.S. Food and Drug Administration (“FDA”) setting forth

the respective roles of each agency in utilizing the DPA to regulate food producers

during the COVID-19 outbreak. See Memorandum of Understanding Between FDA

and USDA Regarding the Potential Use of the Defense Production Act with Regard to

FDA-Regulated Food During the COVID-19 Pandemic (May 18, 2020). 10 Notably, the
agreement reiterated that “actions by States or localities could lead to the closure of

food resource facilities”; such closures “could threaten the continued functioning of

the national food supply chain, undermining critical infrastructure during the

national emergency”; and the Department of Agriculture retained “exclusive

delegated authority” under the DPA to issue orders regarding domestic food

producers. Id. at 1-2, 4 (emphasis added).

         Accordingly, Tyson was operating its facilities—including the Columbus

Junction facility—as critical infrastructure at the direction of federal officials. As

such, Tyson was “acting under the direction of a federal officer,” 28 U.S.C.

§ 1442(a)(1), and “helping the Government to produce an item that it needs” for the

national defense, Watson v. Philip Morris Cos., 551 U.S. 142, 153 (2007); see also

Camacho v. Autoridad de Telefonos de Puerto Rico, 868 F.2d 482, 486-87 (1st Cir.

1989) (holding that “the reach of section 1442(a)(1) extends to private persons . . . who

8 https://www.usda.gov/media/press-releases/2020/05/06/secretary-perdue-issues-
letters-meat-packing-expectations
9   https://www.usda.gov/sites/default/files/documents/stakeholder-letters-covid.pdf
10   https://www.usda.gov/sites/default/files/documents/mou-between-fda-usda-dpa.pdf

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act under the direction of federal officers,” including companies ordered to “facilitate”

or “offer[] technical assistance” to federal agents exercising statutory authority).

         Indeed, it is well established that private providers to the government of

military products (see, e.g., Betzner v. Boeing Co., 910 F.3d 1010, 1013 (7th Cir. 2018))

or health benefits (see, e.g., Jacks, 701 F.3d at 1230) can invoke federal officer

removal. Here, Tyson was acting at the direction of federal officers in a time of

emergency to provide the food security that the government desired. And with respect

to the Defense Production Act in particular, the President made clear on March 24

that companies were acting in the shadow of potential Defense Production Act orders:

“The Defense Production Act is in full force, but haven’t had to use it because no one

has said NO!” 11 That the President ultimately issued a formal Executive Order on
April 28 is consistent with the President’s “broad authority” under that statute,

which can be exercised through either “formal, published regulations” or “informal

and indirect methods of securing compliance.” E. Air Lines, Inc. v. McDonnell Douglas

Corp., 532 F.2d 957, 992-93 (5th Cir. 1976).

         Consistent with the finding of federal officer removal in Winters v. Diamond

Shamrock Chemical Co., 149 F.3d 387 (5th Cir. 1998), the federal government here

(1) provided “detailed specifications” governing Tyson’s ongoing operations—through

the federal direction that the CDC and OSHA guidelines would govern operations,

and promulgation of exceedingly detailed guidelines specific to meat and poultry

processors; and (2) exercised “on-going supervision” of those operations through the

Secretary of Agriculture, id. at 400, who was delegated power by the Department of

Homeland Security to preserve the Food and Agriculture Sector during the pandemic

and by the President to “take all appropriate action . . . to ensure that meat and

poultry processors continue operations consistent with the guidance for their


11   https://mobile.twitter.com/realdonaldtrump/status/1242421041193988096

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operations jointly issued by the CDC and OSHA.” 85 Fed. Reg. at 26,313, 2020 WL

2060381, at *1. The Petition challenges Defendants’ failure to shut down the

Columbus Junction plant sooner in order to implement various measures. [See, e.g.,

Petition ¶¶ 53-54] But those alleged actions were taken pursuant to the authority,

orders, detailed regulation, and supervision of the President and U.S. Departments

of Homeland Security and Agriculture. Defendants were therefore “acting under”

federal officers, and are therefore entitled to have this case heard in federal court. 28

U.S.C. § 1442(a)(1).

       Connection or Association. Following the text of 28 U.S.C. § 1442(a)(1), it

suffices if the lawsuit targets actions Defendants took “relating to” the directions of

federal officers, which requires that Plaintiffs’ allegations be “connected or associated

with” Defendants’ actions taken “pursuant to a federal officer’s directions.” See

Latiolais v. Huntington Ingalls, Inc., 951 F.3d 286, 296 (5th Cir. 2020) (en banc); see

also Sawyer v. Foster Wheeler LLC, 860 F.3d 249, 258 (4th Cir. 2017) (same); Papp v.

Fore-Kast Sales Co., 842 F.3d 805, 813 (3d Cir. 2016) (same). Here, there is a direct

connection between the Petition’s allegations and the actions Defendants took at the

direction of federal officers.

       As noted above, the Petition alleges that Defendants are liable in tort for

allowing employees to continue working and not shutting down the Columbus

Junction facility, (¶¶ 49-50, 53-54), even though it was operating as critical

infrastructure under federal directions during a national emergency. Likewise, the

Petition challenges specific measures that Defendants adopted or allegedly failed to

adopt in response to the coronavirus. [See, e.g., ¶ 49(a)-(m)] But the measures that

Defendants took were at the direction of federal officers in order to continue safe

operations as critical infrastructure during a national emergency. Any dispute that

Defendants should have operated differently from the federal directions they received

in a national emergency should be for the “federal—not state—courts to answer.”

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Isaacson v. Dow Chem. Co., 517 F.3d 129, 138 (2d Cir. 2008) (federal courts must

resolve “whether the challenged act was outside the scope of Defendants’ official

duties, or whether it was specifically directed by the federal Government”) (citing

Willingham v. Morgan, 395 U.S. 402, 409 (1969)).

      Colorable Federal Defenses. Defendants have at least the following federal

defenses to the claims in the Petition.

      •   Express preemption under the Federal Meat Inspection Act (“FMIA”).

          The FMIA’s express preemption clause preempts state-law requirements that are

          “in addition to” or “different than” the rigorous and extensive federal requirements

          under the FMIA. See 21 U.S.C. § 678; see also, e.g., 9 C.F.R. § 416.5(c) (setting

          federal requirements under the FMIA regarding cleanliness, protective attire, and

          “disease control”). As construed by the Supreme Court, “[t]he FMIA’s preemption

          clause sweeps widely” and “prevents a State from imposing any additional or

          different—even if non-conflicting—requirements that fall within the scope of the

          Act.” Nat’l Meat Ass’n v. Harris, 565 U.S. 452, 459-60 (2012). Plaintiffs here would

          use state tort law to impose additional and different requirements.

      •   Preemption under the DPA and the Executive Order. Plaintiffs’ claims are

          also preempted by the DPA and the President’s Food Supply Chain Resources

          executive order and related federal directions. Congress enacted the DPA to

          preserve “the security of the United States” by ensuring “the ability of the domestic

          industrial base to supply materials and services for the national defense and to

          prepare for and respond to . . . natural or man-caused disasters.” 50 U.S.C.

          § 4502(a)(1). The DPA grants the President wide latitude to “take appropriate

          steps” to maintain and enhance the “domestic critical infrastructure” threatened

          by “emergency conditions.” Id. §§ 4502(a)(2)(C), (4). This broad grant of authority

          preempts any attempt by a state to impose its own regulations on “domestic critical

          infrastructure” industries when the President has done so under the DPA, 50

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          U.S.C. § 4502(a)(2)(C); see also Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363,

          376 (2000), and provides defenses against suits like this for actions taken in

          compliance with orders issued under the DPA. The Petition here seeks to impose

          state regulation that conflicts with the President’s express directives under the

          DPA requiring Tyson to assist the nation during a national disaster by

          (1) continuing to operate (2) pursuant to federal operational requirements.

      Defendants are “persons.” All Defendants, including the Tyson entities, are

“persons” under 28 U.S.C. § 1442 because the term “includes corporations.” Jacks,

701 F.3d at 1230 n.3 (citing Watson, 551 U.S. at 152-53). 12
II.   The Court also has federal question jurisdiction.

      This case is properly removed under 28 U.S.C. § 1331 because it “aris[es]

under” federal law. See Wullschleger v. Royal Canin U.S.A., Inc., 953 F.3d 519, 521

(8th Cir. 2020); Bd. of Comm’rs of Se. La. Flood Prot. Auth.-E. v. Tenn. Gas Pipeline

Co., 850 F.3d 714, 721 (5th Cir. 2017). Although Plaintiffs’ causes of action are styled

as state-law claims, this Court has federal question jurisdiction because the claims

(1) “necessarily” raise an issue of federal law that is (2) “actually disputed” and

(3) “substantial,” (4) “which a federal forum may entertain without disturbing any

congressionally approved balance of federal and state judicial responsibilities.”

Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 314 (2005); see




12Although all Defendants jointly remove this case, only one Defendant needs to
establish a right to remove under 28 U.S.C. § 1442(a)(1), and “the entire case [is]
deemed removable, such that [Plaintiffs’] claims against all other defendants . . . will
be heard in federal court as well.” Morgan v. Huntington Ingalls, Inc., 879 F.3d 602,
606 (5th Cir. 2018); see also 14C Charles Alan Wright & Arthur R. Miller, Fed. Prac.
& Proc. § 3726 (Rev. 4th ed.) (“Because Section 1442(a)(1) authorizes removal of the
entire action even if only one of the controversies it raises involves a federal officer or
agency, the section creates a species of statutorily-mandated supplemental subject-
matter jurisdiction.”).

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also Wullschleger, 953 F.3d at 521 (removal is proper where claim pleaded under state

law “implicat[es] a disputed and substantial federal issue”).

      Federal issues are necessarily raised. The Petition necessarily raises

multiple, substantial federal issues. The entire thrust of the Petition is that

Defendants should not have complied with express federal directives related to the

national defense—i.e., should have shut down or stopped employees from coming to

work (see Petition ¶¶ 50, 54, 57); should have taken more or different measures than

were mandated by the federal directives (e.g., id. ¶¶ 49, 55-56); or failed to comply

with federal law by allegedly failing to take certain precautions (e.g., id. ¶ 49(l)).

These issues directly implicate the “uniquely federal interest” in “civil liabilities”

arising from the government’s defense priorities determinations, Boyle v. United

Technologies Corp., 487 U.S. 500, 505-07 (1988), and none of these issues can be

resolved “without reliance on and explication of federal law.” Wullschleger, 953 F.3d

at 522.

      To the contrary, these federal issues are plainly and necessarily raised by the

Petition (e.g., Petition ¶¶ 31, 38), and they permeate every aspect of Plaintiffs’

claims—from the equipment Tyson allegedly provided (e.g., id. ¶¶ 29 & 52 (discussing

OSHA and CDC guidance related to social distancing, face masks, PPE, and physical

barriers), 49(l) (alleging Defendants failed to abide by “Federal rules, regulations and

guidance”)), to Defendants’ decision “to continue to operate at or very near normal

production rates” despite guidance prohibiting large gatherings (id. ¶¶ 35-37)).

Having “elected to premise” their claims on “interpretations of federal law,” Plaintiffs

cannot avoid this Court’s jurisdiction. See Wullschleger, 953 F.3d at 522.

      The federal issues are “substantial.” The Petition implicates federal

imperatives of the highest and broadest importance: coordination of national disaster

relief and the maintenance of infrastructure “essential to the national defense.” 50

U.S.C. § 4511(b); see also Scrogin v. Rolls-Royce Corp., No. 3:10cv442 (WWE), 2010

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WL 3547706, at *3 (D. Conn. Aug. 16, 2010) (“[P]laintiffs’ state tort claims give rise

to serious federal interests in the government procurement contract and military

operations.”); McMahon v. Presidential Airways, Inc., 410 F. Supp. 2d 1189, 1201-02

(M.D. Fla. 2006) (holding that “the federal issues [were] quite substantial” where

national defense and procurement were implicated).

       Moreover, “the validity of [Plaintiffs’] claims would require that conduct

subject to an extensive federal . . . scheme is in fact subject to implicit restraints that

are created by state law.” Bd. of Comm’rs of Se. La., 850 F.3d at 724. The “implications

for the federal regulatory scheme” of such liability—particularly where the federal

scheme relates to critical infrastructure during a national emergency—“would be

significant.” See id.; Xitronix Corp. v. KLA-Tencor Corp., 916 F.3d 429, 441 (5th Cir.

2019), cert. denied, 140 S. Ct. 110 (2019) (noting that the substantiality requirement

is satisfied where a case “put[s] the legality of a federal action in question, in a

manner that would have broader ramifications for the legal system”). Thus, there is

a “serious federal interest in claiming the advantages thought to be inherent in a

federal forum” for these claims. Grable, 545 U.S. at 313; see also Rose v. SLM Fin.

Corp., Civ. A. No. 3:05CV445, 2007 WL 674319, at *4 (W.D.N.C. Feb. 28, 2007)

(“Where a federal regulatory scheme requires private parties to undertake certain

actions in order to comply with the law, the federal courts necessarily have a serious

interest in examining the scope of liability that might arise as a result.”).

       Actual dispute. The federal interests are also actually disputed. See

Wullschleger, 953 F.3d at 522 (finding federal issues actually in dispute where the

plaintiffs “explicitly claim[ed] that defendants violated the FDCA, were non-

compliant with FDA guidance, and that their refusal to [seek] FDA review was

improper”); Bd. of Comm’rs of Se. La., 850 F.3d at 723 (finding federal issues actually

in dispute where the parties disagreed as to whether the defendants complied with

federal law). The Petition seeks to impose state-law liability on Defendants for actions

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taken pursuant to federal directions, and the Petition’s overarching theory is that

Tyson allegedly failed to comply with federal directions in some respects and should

have exceeded (or otherwise deviated from) federal directions in other respects. These

issues—what was required under the federal orders and whether states can override

the federal orders—constitute the central dispute in this case.

        Balance of responsibilities. Finally, exercising jurisdiction over this case will

not disturb—and, in fact, will preserve—the congressionally approved balance of

federal and state judicial responsibilities. The U.S. has not faced a pandemic like this

since the Spanish flu over a century ago, and the emergency federal powers and

planning directive are by their nature limited to a narrow set of circumstances. As

explained above, Tyson’s facilities were designated as “critical infrastructure”

essential to the national defense and directed to continue operating in this national

emergency. Moreover, through the DPA, Congress delegated to the President “an

array of authorities” to “take appropriate steps to maintain” critical infrastructure—

because the “national defense” and “security of the United States” depend upon it. 50

U.S.C. §§ 4502(a)(1), (4).

        Accordingly, there is a “clear interest” in “the availability of a federal forum”

for this case, which directly challenges the President’s orders related to this

emergency under the DPA and other federal statutes and federal directions related

to those orders. Grable, 545 U.S. at 319-20; see also Bd. of Comm’rs of Se. La., 850

F.3d at 725 (holding that jurisdiction was appropriate because “the scope and

limitations” of federal framework were at stake, and deciding “whether that

framework may give rise to state law claims as an initial matter will ultimately have

implications for the federal docket one way or the other”). And exercising jurisdiction

over Plaintiffs’ claims “would not materially affect, or threaten to affect, the normal

currents of litigation,” Grable, 545 U.S. at 319-20, given the “rare” circumstances

here.

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III.   Defendants have satisfied the procedural requirements for removal.

       Venue is proper in this district under 28 U.S.C. §§ 95(b)(5) and 1441(a) because

the United States District Court for the Southern District of Iowa, Eastern Division,

embraces the county in which the state court action is now pending.

       Copies of all process and pleadings filed in the state case are attached hereto

as Exhibit A. LR 81(a)(1); see also 28 U.S.C. § 1446(a). No orders have been filed.

Defendants also provide the attached LR 81 Statement in accordance with Local

Rule 81(a).

       Defendants will promptly provide written notice of this filing to all adverse

parties and will file a copy of this Notice of Removal with the clerk of the state court

where this suit is currently pending. 28 U.S.C. § 1446(d).

                                   CONCLUSION

       For the foregoing reasons, Defendants respectfully remove this action bearing

case number LACV 082037, from the District Court for Johnson County, Iowa,

pursuant to 28 U.S.C. §§ 1331, 1441, 1442, and 1446.




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Dated: November 19, 2020              Respectfully submitted,



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                         CERTIFICATE OF SERVICE

      I hereby certify that on November 19, 2020, I have mailed by United States

Postal Service and have emailed the documents to the following:


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